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                   UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA
    BLACK EMERGENCY RESPONSE TEAM,
    et al.,
                              Plaintiffs,
         v.                                                No. 21-cv-1022-G
    JOHN M. O’CONNOR, et al.
                                     Defendants.

UNOPPOSED MOTION TO EXTEND TIME TO RESPOND TO PLAINTIFFS’
            PRELIMINARY INJUNCTION MOTION

         On October 29, 2021, Plaintiffs filed a motion for a preliminary injunction in the

present case, where Plaintiffs have challenged the constitutionality of Okla. Stat. tit. 70, § 24-

157. Defendants’ response to that motion is currently due on November 19, 2021.

Defendants 1 request an extension until December 10, 2021, to respond to the pending motion.

This is the first request for an extension in this matter. Plaintiffs do not oppose this extension,

which is warranted for the following reasons:

         First, two of Defendants’ lead counsels have pre-existing holiday travel plans that put

them both out of town in the week leading up to November 19.

         Second, including their eight affidavits, Plaintiffs’ motion is nearly 150 pages total. Even

without holiday scheduling difficulties, some additional time to respond to this lengthy filing

would be merited.

         Third, the challenged law took effect on July 1, 2021, meaning that the status quo is not

threatened by an extension of time. See Okla. Stat. tit. 70, § 24-157. Additionally, no hearings



1 Although all Defendants are not represented by the same counsel, all Defendants join
together on this motion.
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or deadlines have been set, so an extension will not adversely impact scheduling in this matter.

       Again, Plaintiffs have informed Defendants that they do not oppose an extension until

December 10, 2021. Thus, Defendants request that this Court extend Defendants’ time to

respond to the injunction motion until December 10, 2021.

                                            Respectfully submitted,

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